Case 2:05-cr-20205-.]DB Document 46 Filed 08/17/05 Page 1 of 2 Page|D 88

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UN|TED STATES OF A|VlEFl|CA,
P|aintiff,

VS. CF{. NO. 05-20204-02-5

05-20205-02-3
CHARLES LOVE,

Defendant.

-._r-._r-._r-_r\_r-~_r-~_/-_.¢‘~_/\_/

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

Tnis cause came to be heard on August 16, 2005, the United States Attorney for this district,
Tim DiScenza, appearing forthe Government and the defendant, Char|es Lo\/e, appearing in person, and
with counsel, Bryan l-loss, who represented the defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts 1 & 2 of the lndictments in case numbers 05-20204 and 05-20205.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for THURSDAY, FEBRUARV 2, 2006, at 1:30 P.N|.,
in Courtroom No. 1, on the 11"‘ floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

ENTERED this ihe/l%day or Augusr, 2005.

 

J. pANlEL BREEN
uNl ED TATEs Dls'rmc'r JuDGE

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UNITED sTATE D"ISIC COUR - WESRNTE D's'TRCT 0 TESSEE

   

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Thcmas Greenhcltz

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chcrable .1. Breen
US DISTRICT COURT

